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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

        v.                                              Crim No.: 17-232 (EGS)

 MICHAEL T. FLYNN,

                                 Defendant



              MOTION FOR LEAVE TO WITHDRAW AS COUNSEL OF RECORD

        Pursuant to Local Criminal Rule 44.5(d), undersigned counsel respectfully moves to

withdraw as counsel of record for the Defendant, Lt. General (Ret.) Michael T. Flynn. General Flynn

has notified the undersigned that he is terminating Covington & Burling LLP as his counsel and has

already retained new counsel for this matter.

        Under Rule 44.5(d), the Court may deny a motion to withdraw if withdrawal “would

unduly delay trial of the case or be unfairly prejudicial to any party, or otherwise not be in the

interests of justice.” As only sentencing remains in this case, sentencing has not yet been

scheduled, and General Flynn has already retained new counsel, withdrawal at this time would not be

prejudicial to any of the parties or otherwise inconsistent with the interests of justice.


June 6, 2019                                     Respectfully submitted,


                                                                /s/

                                                 Robert K. Kelner (D.C. Bar No. 466880)
                                                 Stephen P. Anthony (D.C. Bar No. 426536)
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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 6th day of June 2019, a true and accurate copy of the
foregoing Motion for Leave to Withdraw as Counsel of Record was delivered to the Defendant
and to counsels of record for the United States:

Brandon L. Van Grack, Esq.
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                                                        /s/

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